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     KIRKLAND & ELLIS LLP                                        COOLEY LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP                          Cullen D. Speckhart (VSB 79096)
     Edward O. Sassower, P.C.                                    Admitted to practice in New York, Virginia, Missouri and
     Steven N. Serajeddini, P.C. (admitted pro hac vice)         Texas; Not admitted to practice in DC, supervised by
     601 Lexington Avenue                                        members of DC bar
     New York, New York 10022                                    Olya Antle (VSB 83153)
     Telephone:      (212) 446-4800                              Admitted to practice in Virginia; Not admitted to practice
     Facsimile:     (212) 446-4900                               in DC, supervised by members of DC bar
                                                                 1299 Pennsylvania Avenue, NW, Suite 700
     - and -                                                     Washington, DC 20004-2400
                                                                 Telephone:        (202) 842-7800
     John R. Luze (admitted pro hac vice)                        Facsimile:        (202) 842-7899
     300 North LaSalle
     Chicago, Illinois 60654
     Telephone:       (312) 862-2000
     Facsimile:       (312) 862-2200

 Co-Counsel to the Debtors and Debtors in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                             )
     In re:                                                  )      Chapter 11
                                                             )
     ASCENA RETAIL GROUP, INC., et al.,1                     )      Case No. 20-33113 (KRH)
                                                             )
                                   Debtors                   )      (Jointly Administered)
                                                             )


                  DECLARATION OF DISINTERESTEDNESS OF
                PROPOSED ORDINARY COURSE PROFESSIONAL
 ______________________________________________________________________________

 I, David Rose declare under penalty of perjury:

               1.   I am a partner in the law firm of Mishcon de Reya LLP located at Africa House, 70

 Kingsway, London WC2B 6AH, United Kingdom (the “Firm”).



 1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
 claims and noticing agent at http://cases.primeclerk.com/ascena. The location of Debtor Ascena Retail Group, Inc.’s
 principal place of business and the Debtors’ service address in these chapter 11 cases is 933 MacArthur Boulevard,
 Mahwah, New Jersey 07430.
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            2.   Ascena Retail Group, Inc. and its affiliates, as debtors and debtors in possession

 (collectively, the “Debtors”), have requested that the Firm provide legal services to the Debtors

 relating to intellectual property matters, and the Firm has consented to provide such services.


            3.   The Firm may have performed services in the past, may currently perform services,

 and may perform services in the future in matters unrelated to these chapter 11 cases for persons

 that are parties in interest in the Debtors’ chapter 11 cases. The Firm, however, does not perform

 services for any such person in connection with these chapter 11 cases, or have any relationship

 with any such person, their attorneys, or accountants that would be adverse to the Debtors or their

 estates.


            4.   As part of its customary practice, the Firm is retained in cases, proceedings, and

 transactions involving many different parties, some of whom may represent or be employed by the

 Debtors, claimants, and parties in interest in these chapter 11 cases.


            5.   Neither I nor any principal, partner, director, officer of, or professional employed

 by, the Firm has agreed to share or will share any portion of the compensation to be received from

 the Debtors with any other person other than the Firm.


            6.   Neither I nor any principal, partner, director, officer of, or professional employed

 by, the Firm, insofar as I have been able to ascertain, holds or represents any interest adverse to

 the Debtors or their estates with respect to the matter(s) upon which the Firm is to be employed.


            7.   The Debtors owe (via the US law firm Fross Zelnick Lehrman & Zissu, P.C.) the

 Firm £21,094.22 for prepetition services, the payment of which I understand is subject to

 limitations contained in title 11 of the United States Code.
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        8.     As of the Petition Date, which was the date on which the Debtors commenced these

 chapter 11 cases, the Firm was not party to an agreement for indemnification with certain of the

 Debtors.


        9.     The Firm is conducting further inquiries regarding its retention by any creditors of

 the Debtors, and upon conclusion of that inquiry, or at any time during the period of its

 employment, if the Firm should discover any facts bearing on the matters described herein, the

 Firm will supplement the information contained in this Declaration.



                           [Remainder of page intentionally left blank]
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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.




 Dated: _7 October 2020__________________________            Respectfully submitted,




                                                             David Rose
